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                  IN THE UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF INDIANA
                           INDIANAPOLIS DIVISION
_________________________________________

In Re: COOK MEDICAL, INC., IVC FILTERS
MARKETING, SALES PRACTICES AND                                 Case No. 1:14-ml-2570-RLY-TAB
PRODUCTS LIABILITY LITIGATION                                                    MDL No. 2570
_________________________________________

This Document Relates to:

1:21-cv-01031        1:22-cv-01403         1:22-cv-01428        1:22-cv-06829
1:21-cv-01062        1:22-cv-01404         1:22-cv-01430        1:22-cv-06830
1:22-cv-01360        1:22-cv-01405         1:22-cv-01432        1:22-cv-06833
1:22-cv-01380        1:22-cv-01409         1:22-cv-01437        1:22-cv-06835
1:22-cv-01389        1:22-cv-01411         1:22-cv-06821        1:22-cv-06840
1:22-cv-01390        1:22-cv-01412         1:22-cv-06822        1:22-cv-06841
1:22-cv-01392        1:22-cv-01413         1:22-cv-06823        1:22-cv-06844
1:22-cv-01393        1:22-cv-01414         1:22-cv-06825        1:22-cv-06849
1:22-cv-01397        1:22-cv-01416         1:22-cv-06827
1:22-cv-01398        1:22-cv-01423         1:22-cv-06828



                                APPEARANCE OF COUNSEL

To: The Clerk of Court and all parties of record:

       I am admitted or otherwise authorized to practice in this Court, and I appear in this case
as counsel for:

         Cook Medical LLC (which is alleged in some cases to be also known as “Cook
         Medical, Inc.”);
         Cook Incorporated (which is alleged in some cases to be doing business as “Cook
         Medical”); and
         William Cook Europe ApS

Dated:          July 28, 2022                /s/ Kip S. M. McDonald
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                                CERTIFICATE OF SERVICE

       I hereby certify that on July 28, 2022, I electronically filed the foregoing document with

the Clerk of the Court using the CM/ECF system which will send notification of such filing to

the CM/ECF participants registered to receive service in this MDL.


                                                    /s/ Kip S. M. McDonald




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